      Case 1:20-cv-03388-EGS Document 48 Filed 03/31/22 Page 1 of 1



                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


MICHIGAN   WELFARE   RIGHTS
ORGANIZATION, et al.

                Plaintiffs,

v.                                   Civ. Action No. 20-3388 (EGS)

DONALD J. TRUMP, et al.,

                Defendants.


                                 ORDER

     For the reasons stated in the Court’s forthcoming

Memorandum Opinion, it is hereby

     ORDERED that the RNC’s Motion to Transfer, ECF No. 21, is

DENIED; and it is further

     ORDERED that the Trump Defendants’ Motion to Transfer, ECF

No. 22, is DENIED; and it is further

     ORDERED that the RNC’s Motion to Dismiss, ECF No. 24, is

GRANTED IN PART AND HELD IN ABEYANCE IN PART; and it is further

     ORDERED that the Trump Defendants’ Motion to Dismiss, ECF

No. 25, is GRANTED IN PART AND HELD IN ABEYANCE IN PART.

     SO ORDERED.

Signed:   Emmet G. Sullivan
          United States District Judge
          March 31, 2022
